   Case:Case
         17-2644
             2:15-cr-00171-MMB
                    Document: 003113075625
                                 Document 141 Page:
                                               Filed111/02/18
                                                         Date Filed:
                                                               Page11/01/2018
                                                                     1 of 2




                       UNITED STATES COURT OF APPEALS
                            FOR THE THIRD CIRCUIT
                                 _____________

                                      No. 17-2644
                                     _____________

                           UNITED STATES OF AMERICA
                                      v.

                                  KEONNA THOMAS


                   PHILLY DECLARATION, L.L.C., and AUSTIN NOLEN,
                                         Appellants

                                    ______________

             APPEAL FROM THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                    (D.C. Crim. Action No. 2-15-cr-00171-001)
                   District Judge: Honorable Michael M. Baylson
                                  ______________

                      Submitted Under Third Circuit L.A.R. 34.1(a)
                                    July 10, 2018
                                  ______________

         Before: GREENAWAY, JR., RESTREPO, and BIBAS, Circuit Judges.

                                    ______________

                                      JUDGMENT
                                    ______________


       This cause came to be considered on the record from the United States District Court

for the Eastern District of Pennsylvania and was submitted pursuant to Third Circuit L.A.R.

34.1(a) on July 10, 2018. On consideration whereof, it is now hereby ORDERED and
   Case:Case
         17-2644
             2:15-cr-00171-MMB
                    Document: 003113075625
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                                               Filed211/02/18
                                                         Date Filed:
                                                               Page11/01/2018
                                                                     2 of 2



ADJUDGED by this Court that the judgment of the District Court entered on June 29, 2017

is hereby affirmed in part and vacated in part, and the case is remanded for further

proceedings. All of the above in accordance with the Opinion of this Court.


                                                          ATTEST:


                                                          s/ Patricia S. Dodszuweit
                                                          Clerk




Dated: September 21, 2018



                             Certified as a true copy and issued in lieu
                             of a formal mandate on November 1, 2018


                            Teste:
                            Clerk, U.S. Court of Appeals for the Third Circuit
